Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 1 of 66

EXHIBIT X-15

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 2 of 66

EXHIBIT X-15

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 3 of 66

UNITED STATES DEPARTMEN TOF

THE INTERIOR

NATIONAL PARK SERVICE

REPORT OF INVESTIGATION

Investigation conducted by:

The Law Offices of Stuart L. Plotnick
Neil Jacobs - Investigator

51 Monroe Street, Suite 701
Rockville, Maryland 20850
301.251.1286 (phone)

301.762.8539 (fax)

COMPLAINANT’S NAME: Elston L. Stephenson
COMPLAINT NUMBER: NPS-18-0460

This document is for OFFICIAL USE ONLY. Neither it nor its contents are to

be distributed outside of your Agency, nor duplicated, without proper
authorization. You should be advised that any unauthorized use of this
document might subject you to penalties provided by law.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 4 of 66

since June 2014. Mr. Drapeaux is familiar with Complainant as his first level supervisor .
He is aware from visual observation that Complainant is an African American.

Matthew Vandzura (White) responsible management official, is Chief Ranger, grade
GS-14, United States Department of the Interior (DOI), National Park Service (NPS),
Grand Canyon National Park, Grand Canyon, AZ. He has been in his position since
March 2016, and has worked for the Agency since 1989, Mr. Vandzura is familiar with
Complainant as the Safety Officer at Grand Canyon National Park. He is aware that
Complainant is African American from visual observation of him.

Charles Erikson (Caucasian) witness, is a Visitor Use Assistant; grade GS-5, United
States Department of the Interior (DOI), National Park Service (NPS), Grand Canyon
National Park, Grand Canyon, AZ. He has been in his position since April 2016 and has
worked for the Agency since 2011. Mr. Erikson is aware that Complainant is African
American from visual observation of him.

David Kane (Caucasian) witness, is Chief of Safety, Health and Wellness; grade GS-14,
United States Department of the Interior (DOI), National Park Service (NPS), Grand
Canyon National Park, Grand Canyon, AZ. He has been in his position since August,
2016, and has worked for the Agency since 2008. Mr. Kane is aware of Complainant
being African American from visual observation of him.

Summary

Whether the complainant was subjected to harassment and discriminated
against on the basis of race (African American) when:

1. He was not given a performance appraisal during his entire tenure at
GRCA (Grand Canyon National Park).

Management Testimony

Mr. Drapeaux states that Complainant was not provided with a performance work plan
prior to the period November 9, 2019 to December 19, 2019. According to Mr.
Drapeaux, former Superintendent Lehnertz wanted to fire Complainant during his
probationary period. He states that she utilized words in describing Complainant that led
him to believe that she was basing her feelings toward him on his race rather than
performance, Mr. Drapeaux states that he did not want to prepare a performance work
plan for Corhplainant because he believed that Ms. Lehnertz would want material placed
in it that could be used to justify his termination.: He states that he himself had filed
several complaints against Ms, Lehnertz. Mr. Drapeaux states that Ms, Lehnertz was
subsequently suspended, and voluntarily resigned from her position last Spring.

Mr. Drapeaux states that Complainant has since requested a performance work plan
and/or appraisal from him both in writing and verbally. He states that he has
attempted to meet with Complainant on multiple occasions to design his performance
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 5 of 66

responsibilities in the Park during the same period. Mr. Drapeaux states that he advised
Complainant to seek different dates, plan and request well in advance to ensure proper
discussion and planning for his time out of the Park. Both of these types of training are
readily available to safety professionals throughout any given year and making better
planning choices makes the best sense giving the responsibilities of the Park’s Safety
Manager role. Mr. Drapeaux states that he denied both trainings based on Park priorities
and Park immediate needs.

5. In May of 2018, he began submitting appointment letters of which are
required by OSHA, to the Superintendent for signature, and they were
never signed.

Management Testimony

Mr. Drapeaux states that he is not aware of what an appointment letter is nor its purpose,
He states that he is unaware of Complainant submitting and appointment letters to the
Superintendent or of her not signing them.

6. On June 15, 2018, and four (4) days following, the Superintendent
excluded him from uranium readings, and other exposure information,
while providing the information to a non NPS employee (Caucasian, and
an Intermountain Region employee (Caucasian) with less experience.

Management Testimony

Mr. Drapeaux states that he is not an expert or knowledgeable of what a “uranium
reading” is. He states that he is unaware of Complainant being involved in uranium
readings or exposure information. Mr. Drapeaux states that he has no knowledge of
Complainant on June 15, 2018, being excluded from uranium readings and other
exposure information.

7. His budget request for the Safety Department was denied on multiple

occasions; however, all other safety programs run by Caucasian
managers are afforded their own budget.

Management Testimony

Mr. Drapeaux states that Complainant is Park Safety Manager, which encompasses
one other authorized position for him to hire. He does not have the title of Director. He
states that Safety is a responsibility of all employees and supervisors. According to Mr.
Drapeaux, the Park teaches Operational Leadership to employees. He states that the
Safety Manager has responsibilities specific to his job description and is identified as an
integral part of the Employee Safety, Health and Wellness Committee.

Mr. Drapeaux states that due to insufficient budget allocations, a decision by the park

senior leadership team, prior to the complainant’s arrival at the park, determined that
safety related purchases were the responsibility of the divisions. The responsibility of the

10
ee
oMeon AM bhWN = COWwWtw HN Aw bw WN =

NNN WN Ww
ony At & Wh =

wa IND
oo

to ha a
Ww ht

AA Dw WwW ww Ww
N= OO ODA i

SaGgks

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 6 of 66

In the Matter of Elston L. Stephenson
Complaint Number: NPS-18-0460
Agency: United States Department of Interior
National Park Service

TATEMENT OF WOODY SMEC
RESPONSIBLE MANAGEMENT OFFICIAL

My name is Woody Smeck. My job title is Superintendent; grade GS-0025-15, National
Park Service, Sequoia and Kings Canyon National Parks, Three Rivers, CA. I have been
in my position since April 2013. I have worked for the Agency since July 1991. My
telephone number during the day is 559-565-3101.

I HAVE BEEN ADVISED OF THE FOLLOWING:

I am required by Federal regulations and United States Department of Interior policy and
National Park Service policy to cooperate fully and promptly with the investigator who has
been assigned to conduct a thorough and impartial investigation into a complaint of
discrimination against the Untied States Department of Interior and National Park Service.
I must provide a statement for the investigative report, which is true, and complete to the
best of my knowledge and which discloses all of my firsthand knowledge having a bearing
on the merits of the complaint. My statement is provided under oath (or affirmation),
without a pledge of confidentiality, in accordance with Equal Employment Opportunity
Commission rules and regulation as well as those of the United States Department of
Interior and National Park Service. The Complainant and the appropriate Departmental
officials involved in the EEO complaint process will receive the entire investigative file. I
have the right to review my statement prior to signing it and may make initialized
corrections if it is incomplete or inaccurate. I have the right to receive a copy of the signed
statement.

Having been advised of the above information about my role as a witness in the
investigative process, I solemnly swear the statement that follows is true and complete to
the best of my knowledge and belief, and addresses the issues and concerns raised with me
by the investigator.

I have the right to review my statement prior to signing it, and may make initialed
corrections if it is incomplete or inaccurate. I have a right to receive a copy of the signed
statement.

Background
Q. What is your race?
A. White

Q. What is your job title?

[Initials ws
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 7 of 66

EXHIBIT |

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 8 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 9 of 66

United States Department of the Interior
OFFICE OF THE SECRETARY
Washington, DC 20240

OFFICE OF CIVIL RIGHTS

Elston L. Stephenson,

Complainant,
Agency Case No.: DOI- NPS-18-0460

v,

David Bernhardt,

Acting Secretary,

U.S. Department of the Interior,
Agency.

AGENCY DECISION ON COMPLIANCE-BREACH OF SETTLEMENT AGREEMENT
ALLEGATION

I. INTRODUCTION

Elston L. Stephenson, Complainant, is employed as a Safety, Health and Wellness Manager, GS-
0018-13, by the United States Department of the Interior (DOI), National Park Service (NPS), at the
Grand Canyon National Park, in Grand Canyon, AZ. On September 13, 2018, and September 18,
2018, the Agency and Complainant executed a Settlement Agreement (SA) resolving the above-
numbered EEO Complaint. The SA became effective on September 25, 2018. (Attachment 1),

In a letter received in the Departmental Office of Civil Rights (OCR) on October 31, 2018,
Complainant alleged that the Agency breached the Settlement Agreement in the instant case,
specifically Paragraph 19. Complaint requested that his EEO Complaint be reinstated for further
processing from the point at which processing ceased. (Attachment 2).

An Acknowledgment Letter was issued to Complainant by OCR on December 3, 2018, confirming
reccipt of Complainant’s Breach of Settlement Agreement Allegation. (Attachment 3). Also on
December 3, 2018, OCR issued a Notice of Agency Non-Compliance Allegation to Rick Frost,
Deputy Regional Director, Inter-Mountain Region, NPS (the authorized representative who signed the
SA on behalf of the Agency), requesting a Response and any supporting documentation. (Attachment

4),

Management's Response to Notice of Agency Non-Compliance Allegation was received in OCR on
December 18, 2018, (Attachment 5). The record also includes an c-mail, dated October 25, 2018,

TAKE PRIDE’ _+
INAMERICAS—
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 10 of 66

© Page 2

from Rick Frost to Complainant, accompanied by a copy of a signature page from the COOP, with an
a signature and approval date of October 23, 2018, (Attachment 6).

On December 22, 2018, OCR Employees were furloughed due to a Partial Government Shutdown,
which lasted until January 25, 2019. OCR Employees retumed to duty on January 28, 2019, the first
workday following termination of the furlough.

_ The Agency is taking final action on this Alleged Breach of Settlement Claim by issuing this Decision
in accordance with the Equal Employment Opportunity Commission’s (Commission, EEOC)
regulation at 29 C.F.R.§ 1614.504. The following analysis and findings represent the final decision of
the Agency.

IL. ANALYSIS METHODOLOGY

The EEOC's regulation, at 29 C.F.R. § 1614.504, provides that if the complainant believes that
the agency failed to comply with the terms of a settlement agreement, the complainant should
notify the director of the Equal Employment Opportunity Office, in writing, of the alleged
noncompliance with the settlement agreement, within thirty (30) days of when the complainant
knew or should have known of the alleged noncompliance. The complainant may request that
the terms of the settlement agreement be specifically implemented or, alternately, that the
complaint be reinstated for further processing from the point at which processing ceased. The
agency shall resolve the matter and respond to the complainant, in writing. Ifthe agency has not
responded to the complainant, in writing, or the complainant is not satisfied with the agency’s
attempt to resolve the matter, the complainant may appeal to the Commission for a determination
as to whether the agency has complied with the terms of the settlement agreement or the final
decision.

Additionally, 29 C.F.R. § 1614.504(a) provides that any settlement agreement knowingly and
voluntarily agreed to by the parties, reached at any stage of the complaint process, shall be
binding on both parties.

The Commission has held that a settlement agreement constitutes a contract between the
employee and the Agency, to which ordinary rules of contract construction apply. See
Herrington v. Dep't of Def., EEOC Request No. 05960032 (December 9, 1996). The
Commission has further held that it is the intent of the parties as expressed in the contract, not
some unexpressed intention, that controls the contract's construction. Eggleston v. Dep't of
Veterans Affairs, EEOC Request No. 05900795 (August 23, 1990). In ascertaining the intent of
the parties with regard to the terms of a settlement agreement, the Commission has generally
relied on the Plain Meaning Rule. See Hyon O v. U.S. Postal Serv., EEQC Request No.
05910787 (December 2, 1991). This rule states that if the writing appears to be plain and
unambiguous on its face, its meaning must be determined from the four comers of the instrument
without resort to extrinsic evidence of any nature. See Montgomery Elevator Co, v. Building
Eng'g Servs. Co., 730 F.2d 377 (5th Cir. 1984).

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 11 of 66

® Pages

Additionally, the Commission has stated that it is “not generally concemed with the adequacy or
fairness of the consideration in a settlement agreement, as long as some legal detriment is
incurred as part of the bargain.” See Terracina v. Dep't of Health & Human Services, EEOC
Request No. 05910888 (March 11, 1992). When, however, one of the contracting parties incurs
no legal detriment, the settlement agreement will be set aside for lack of consideration. See
Morita v. Dep't of the Air Force, EEOC Request No. 05960450 (Dec. 12, 1997).

Finally, the EEOC’s Regulation at 29 C_E.R. § 1614.504 (c) provides that allegations that subsequent
acts of discrimination violate a settlement agreement shall be processed as separate complaints under
29 C.F.R. §1614.106 or 29 C_E.R. §1614,204, as appropriate, rather than under this section.

lil. DISCUSSION AND ANALYSIS

Complainant submitted a letter, received in OCR on October 31, 2018, alleging as follows:

1. The Department of the Interior (Agency) has violated-is in Non-Compliance with
Clause 19 of the Mediation Settlement Agreement.

2. Per Clause 19, “The Agency agrees that the [Grand Canyon National Park (GRCA)]
Superintendent will designate as an essential position the Safety, Health, and Wellness
Manager in the Continuity of Operations Plan [COOP] no later than September 30,
2018."

3. Agency failed to do this by the September 30, 2018 deadline. As of this writing,

Agency has still failed to comply with Clause 19.

4. Further, Agency attempted to fraudulently knowingly and wittingly dupe the
Complainant into believing that it had complied with Clause 19 with portrayals, when it
had not.

5. The text of the COOP document makes no mention of the Safety Health and Wellness
Manager designated as essential position. Nor is it treated equally to other positions in
the document (e.g. Public Information Officer, Liaison, Logistics Section Chief, etc.) .
Although "Safety" is inserted 3 times in the document, this does not constitute
“designating” the Safety Health and Wellness Manager as “essential.”

6. Most importantly, the document is never signed by the GRCA Superintendent-a
requirement for the document to be in full effect,

7, The document is 130 pages. Please receive the Page 4 Review and Approval (scanned
October 1, 2018) with the Superintendent's required signature notably missing.

8. Please receive Page 6 of the Table of Contents with the Safety Health and Wellness
Manager position notably missing.

9. Please note that there is no document designating the Safety Health and Wellness
Manager as "essential" because none was ever produced by Agency. (Attachment 2).

The Agency responded to Complainant’s allegation as follows:

1. Pursuant to the agreement, the Superintendent's office at Grand Canyon National Park
directed its chief ranger to update the COOP plan to reflect this part of the agreement.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 12 of 66

®@ Page 4

2. On pages 11 and 12 of the updated plan there are three references to the park safety
officer being part of the Continuity of Operations Incident Management Team (IMT).

3. The COOP document states that the park has identified key personnel that will be

required to provide direction and technical expertise for the reinstatement of critical
and normal business functions.

4. In the eyes of the agency key personnel are all essential positions in an IMT.

5. The document goes on to list “The positions that will be staffed when fully activated.”
Among those key positions is the park safety officer.

6. Itis the intention of the agency that the park safety officer is the park Safety, Health
and Wellness Manager. .

7. The safety officer is identified in three places in the document as a key person on the
COOP IMT team:

8. The position is part of a list of key personnel: it is located on an organizational chart of
key personnel: and it is listed in Figure 2 on page 12 as one of the key personnel. |
have attached the relevant pages of the plan with this letter.

9. The plan was signed by both Deputy Superintendents at Grand Canyon on September
28, 2018.

10. The superintendent was not in the park at that time. Due to the absence of the
superintendent from the office for an extended period of time, one of the acting deputy
superintendents, Brian Drapeaux, signed the document as acting superintendent on Oct.
23, 2018. I have attached that signature page to this letter as well. (Attachment 5).

In determining whether the Agency breached the Settlement Agreement, we must first determine
whether the Settlement Agreement is governed by the aforementioned plain meaning rule. See
Hyon O v. U.S. Postal Serv., EEOC Request No. 05910787 (December 2, 1991). As indicated in
the Analysis Methodology Section (II) of this Decision, the plain meaning mule states that if the
writing appears to be plain and unambiguous on its face, its meaning must be determined from
the four comers of the instrument without resort to extrinsic evidence of any nature. See
Montgomery Elevator Co. v. Building Eng'g Servs. Co., 730 F.2d 377 (5th Cir. 1984).

In reviewing the Settlement Agreement (Attachment 1), I discovered the following four (4)
provisions pertinent to this matter:

1, Effective Date. This Settlement Agreement shall become effective as of the date the
Agreement is signed by all parties and after expiration of the revocation period as outlined in
Paragraph 6 of this Agreement. |

2. Effect of Signatures. The signatures affixed to this Settlement Agreement establish that
Complainant and the Department of the Interior (a) have read this entire document,

(b) have knowingly, voluntarily, and in good faith entered into this Settlement Agreement, (c) have
not been induced by or through fraud, misrepresentation, duress, threat, or coercion, (d) fully

1 Paragraph 6 permits Complainant to revoke the SA, “no later than saven (7) days following the date on which
he signs this Settlement Agreement”

andes.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 13 of 66

@ Page 5

understand all terms and conditions described in this Settlement Agreement, (e) agree with all
terms and conditions described in this Settlement Agreement, and (f) agree to satisfy and perform,
in good faith, the terms and conditions described in this Settlement Agreement.

15. Process Related to Allegations of Agency Non-Compliance. Complainant and the Agency

enter into this Settlement Agreement consistent with and guided by the authority contained in

29 CER. §§ 1614.504 and 1614.603, and agree that the terms of this Settlement Agreement shall
bind Complainant, the Agency, their respective employees, officials, agents, representatives,
successors, and assigns. If Complainant believes that the Agency has failed to comply with the
terms of this Settlement Agreement, he shall, in accordance with 29 C.F.R. § 1614.504(a), provide
written notice to the Department's Director of the Office of Civil Rights, U.S. Department of the
Interior, of the alleged noncompliance within thirty (30) days of the date on which he knew or
should have known of the alleged noncompliance. Complainant may request (a) that the terms of
the Settlement Agreement be specifically implemented, or (b) that the Complaint be reinstated for
further processing from the point at which processing ceased, Complainant agrees that if he elects
to reinstate the Complaint from the point at which processing ceased, he shall return to the Agency,
within thirty (30) days of reinstatement of the Complaint, all benefits and consideration which he
received pursuant to the terms and conditions of this Settlement Agreement.

19. The Agency agrees that the Superintendent will designate as an essential position the Safety,
Health and Wellness Manager in the Continuity of Operations Plan (COOP) no later than
September 30, 2018.

I find that the Settlement Agreement, signed by the Agency on September 13, 2018, and Complainant
on September 18, 2018, is clear and unambiguous, and subject to the application of the plain meaning
tule. Since the Settlement Agreement is plain and unambiguous on its face, its meaning must be
determined from the four comers of the Settlement Agreement without resort to extrinsic evidence of
any nature. I will determine the parties’ intention from the Settlement Agreement alone.

Meanwhile, in the Settlement Agreement, Complainant and the Agency agreed, among other terms, to
the four (4) aforementioned Terms and Conditions. Those aforementioned Terms and Conditions
clearly demonstrate the clear and unambiguous nature of the Settlement Agreement.

Following a thorough review of the record in this matter, I find the following:

A. Pursuant to Paragraphs 1 and 6 of the instant Settlement Agreement, it became
effective September 25, 2018, following expiration of a seven (7)-day revocation
period after the date Complainant signed the SA (September 18, 2018).

B. Paragraph 15 required Complainant to submit to the Agency, written notification
of noncompliance within 30 days of the date on which Complainant knew or
should have known of the alleged noncompliance.

C. Complainant complied with Paragraph 15, and timely submitted to the
Departmental Office of Civil Rights, Complainant’s Notice of Agency
Noncompliance with the SA.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 14 of 66

® Pages

D. Paragraph 19 required the Superintendent, Grand Canyon National Park (GRCA)
to designate, as an essential position the Safety, Health and Wellness Manager
in the Continuity of Operations Plan (COOP) no later than September 30, 2018.
E. The Agency failed to timely comply with Paragraph 19 of the SA by September
30, 2018 as follows:

l.

While the Agency agreed to designate Complainant’s position Safety,
Health and Wellness Manager, as “essential” in the COOP, the
Superintendent, Grand Canyon National Park failed to do so, and
provided no evidence of such inclusion.

The Agency’s use of the term Safety Officer in three (3) locations of the
COOP did not constuitute designation of Complainant’s position, Safety,
Health and Wellness Manager as “essential” in the COOP.

The Agency’s submission of a signature page (Review and Approval)
from the COOP to Complainant as proof of compliance with Paragraph
19 can best be described as bad faith based on the following:

a. The Review and Approval page contained purported signatures
of the Chief Ranger (9/21/18); Deputy Superintendent
Operations (9/28/18); and Deputy Superintendent Business
(9/28/18), recommending the COOP for approval by the
Superintendent, GRCA.

b. The Review and Approval page in question lacked the signature
of the Superintendent, GRCA.

Following Complainant’s expression of displeasure with the lack of
compliance to Management, the Agency produced a second Review and
Approval page containing the signature of the Deputy Superintendent
Business, supposedly approving the COOP on behalf of the
Superintendent, GRCA, on October 23, 2018.

The supposed approval by the Deputy Superintendent Business, who
recommended approval on September 28, 2018, is highly questionable,
since he initially recommended approval, then subsequently approved
the COOP.
Management’s Response to Complainant’s Noncompliance Allegation
included the statement, “In the eyes of the agency key personnel are all
essential positions in an IMT.” This statement ignores the fact that the
Agency agreed to to designate, as an essential position the Safety,
Health and Wellness Manager in the Continuity af Operations Plan
(COOP) no later than September 30, 2018.

Management’s claim, Jt is the intention of the agency that the park
safety officer is the park Safety, Health and Wellness Manager does not
absolve the Agency from its obligligation to comply with Paragraph 19
of the SA.
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 15 of 66

@ Page 7

TV. CONCLUSION

After analyzing the entire record and applying the aforementioned legal standards, we find that the
Agency failed to comply with the Settlement Agreement, specifically Paragraph 19, as alleged in
Complainant's Allegation of Agency Non-Compliance. The Agency is ordered to process
Complainant’s EEO Complaint in accordance with 29 C.F.R. Part 1614, from the point processing
ceased, . .

The Agency shall acknowledge to Complainant within thirty (30) calendar days of the date this
decision was issued, that the complaint in question has been reinstated and is being processed.
Complainant must retum to the Agency, within thirty (30) calendar days of reinstatement of his
complaint, all benefits and consideration which he received pursuant to the terms and conditions of the
Settlement Agreement. The Agency shall submit to OCR a Compliance Report within thirty (30) days
of the issuance of this Decision, confirming compliance with this Decision.

This is the United States Department of the Interior's Final Decision on Compliance, and the final
action in this matter. If the Complainant is dissatisfied with this action, he has the following appeal

rights.
APPEAL RIGHTS TO THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

29 C.F.R. §16]4.402(a) provides that an appeal of the agency’s final decision to the Equal
Employment Opportunity Commission (EEOC) must be filed by an appellant within thirty (30) days
of receipt of an agency’s or Administrative Judge’s dismissal, final action, or decision. If the
appellant is represented by an attomey of record, the 30-day time limit shall begin to run from the date
of receipt by the attorney of the notice of dismissal, final action, or final decision without a hearing.
All such appeals must be filed with the EEOC (Commission) at the following address:

Equal Employment Opportunity Commission
Office of Federal Operations

P.O. Box 77960

Washington, D.C. 20013

As an altemative to mailing, appeals may be hand-delivered to:

Equal Employment Opportunity Commission
Office of Federal Operations

131 M Street, N.E., Fifth Floor

Washington, D.C. 20507

As a further alternative, appeals that are 10 pages or less may be sent by facsimile fax to: (202) 663-
7022. The appeal shall be deemed filed on the day it is postmarked, or in the absence of a postmark,
on the date it is received by the EEOC.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 16 of 66

@ Page 8

Complainant shall furnish a copy of the appeal to the agency at the same time it is filed with the
Commission at the address below:

U.S. Department of the Interior

Office of Civil Rights

Tanisha M. Edmonds, Esq., Acting Director
1849 C Street, N.W., Suite 4353
Washington, D.C. 20240

In or attached to the appeal to the Commission, the Appellant must certify the date and method by
which service was made to the opposing party. The Appellant should use EEOC Form 573, Notice of
Appeal/Petition {copy enclosed).

If the appeal is not filed within the thirty (30)-calendar day time limit, the appeal may be dismissed by
the EEOC. However, the EEOC may, at its discretion, extend the time limits and accept the appeal
based upon a written statement that there was no actual notification of the time limit, or that a timely
Notice of Appeal could not be filed, due to extenuating circumstances.

Any statement or brief in support of the appeal must be submitted to the EEOC within 30-calendar
days of filing of the Notice of Appeal. The EEOC, Office of Federal Operations, accepts statements
or briefs in support of appeals by facsimile transmittal, provided that they are not more than ten (10)
pages long. Any statement or brief in opposition to the appeal must be submitted to the EEOC and
served on the Appellant (or the attomey of record, if represented by an attormey) within 30-calendar
days of receipt of the statement or brief supporting the appeal, or if no statement or brief supporting
the appeal has been filed, within sixty (60) days of receipt of the appeal.

It is the responsibility of the U.S. Department of the Interior to submit the entire complaint file to the
EEOC, Office of Federal Operations, within 30-calendar days of initial notification that an appeal has
been filed.

CIVIL Ai

In lieu of an appeal to the Commission, you may file a civil action in an appropriate United States
District Court within 90 calendar days of receipt of the final decision.

If you file an appeal with the Commission, and you are not satisfied with the Commission's decision,
you may file a civil action in a United States District Court within 90 calendar days of receipt of the
Commission's final decision.

You may also file a civil action any time after 180 calendar days from the date of filing an appeal with
the Commission, if there has been no final decision by the Commission. If you decide to file a civil
action and are unable to afford Counsel, the Civil Rights Act gives the Court discretionary authority to
appoint Counsel without payment of fees or costs by you. The granting or denial of your request is

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 17 of 66

® Page 9

within the sole discretion of the Court. Your request and the civil action must be filed within 90 days
of the date the final decision is received.

If you file a civil action involving this complaint, you must specifically name the Acting Secretary.
of the Department of the Interior, David Bernhardt, as Defendant. Failure to do so may result in
the loss of any judicial redress to which you may be entitled.

It is important to note that 29 C.F.R. §1614.409 states, “Filing of a civil action under §1614.408 or
§1614.409 shall terminate Commission's processing of the appeal. If private suit is filed subsequent
to the filing of an appeal, the parties are requested to notify the Commission in writing.”

. i
4 wick. PG INF
Tanisha M. Edmonds, Esq. ie
Acting Director

Office of Civil Rights

Attachments:

1. Settlement Agreement Signed September 13, 2018 (Agency), and September 18, 2018
(Complainant)

2. Complainant’s Letter Alleging Breach of Settlement Agreement, Received October 31, 2018

3. Acknowledgment Letter Issued to Complainant by OCR, December 3, 2018

4. Notice of Agency Non-Compliance Allegation, Dated December 3, 2018. to Agency
Management Official

5. Management's Response to Notice of Agency Non-Compliance Allegation, Received in OCR
December 18, 2018

6. E-mail from Rick Frost to Complainant, Dated October 25, 2018, and Copy of Signed Review
And Approval Page of COOP

Enclosure: EEOC Appeal Form

ce:

Complainant: Elston L. Stephenson, 41551 Ventana Drive, Palmdale, CA 93551; Certified
Mail Number (9414 7266 9904 2969 6702 75)

Rose Blankenship, EEO Officer, National Park Service (Inter-Office Mail)
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 18 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 19 of 66

9/30/2020 Case 3:19-cv-08268-DLR DociiitleReetmen. Ftett16"4@k20 Page 20 of 66

Due Deference Notification - GRCA Opening US Mail/Federal Court Documents,
Notification to US District Court, DOJ, OSC

Stephenson, Elston L <elston_stephenson@nps.gov>
Tue 9/29/2020 4:37 AM

To: dwbernhardt@ios.gov <dwbernhardt@ios.gov>; Greenblatt, Mark L <mark_greenblatt@doioig.gov>
Cc: Keable, Edward T <edward_keable@nps.gov>; Burnette, Chris C <chris_burnette@nps.gov>; Rowe, Louis R
<Louis_Rowe@nps.gov>

Mr. Secretary,
Sir, Good Morning.

On September 19, 2020 | was informed by the GRCA Deputy Superintendent, Operations that on at least
one occasion someone had deliberately opened my US Mail.

As You know, | have a federal case in US District Court, Arizona against GRCA Deputy Superintendent
Brian Drapeaux.

On at least one occasion these were Court documents clearly addressed to me, clearly sent by the
Court.

Sir, respectfully, as You know; these are several 18USC felonies---both with respect to the US Mail, and
interfering with federal court proceedings/obstruction of justice.

| have notified the Court, the Justice Department directly, and the Justice Department through the Office
of Special Counsel.

Thank You, Mr. Secretary.

Very Sincerely,
Elston

Elston L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

hitps://outlook.office365.com/mail/sentitems/id/AAQKAGFKYJZIY Tg4L TAyNTI{NDQyOSO5ZTHILTZkZjAOZjZhMWY 1 NwAQAMUVS9zOtwaplk%2BPfIK%2... 1/1

9/30/2020 Case 3:19-cv-08268-DLR DocWathest¢nilensén, Hated 1Outlbey¥20 Page 21 of 66

Re: Due Deference Notification - GRCA Opening US Mail/Federal Court Documents,
Notification to US District Court, DOJ, OSC

Stephenson, Elston L <elston_stephenson@nps.gov>
Tue 9/29/2020 5:29 AM

To: dwbhernhardt@ios.gov <dwbernhardt@ios.gov>; Greenblatt, Mark L <mark_greenblatt@doioig.gov>
Cc: Keable, Edward T <edward_keable@nps.gov>; Burnette, Chris C <chris_burnette@nps.gov>; Rowe, Louis R
<Louis_Rowe@nps.gov>

Mr. Secretary,
Correction Sir; the date was September 16, 2020.

Thank You, Mr. Secretary.

With Apologies,
Elston

Elston L Stephenson, OHST

Safety Health & Wellness Manager

Tort Claims Officer

Grand Canyon National Park

928-255-8727

From: Stephenson, Elston L

Sent: Tuesday, September 29, 2020 4:37 AM
To: dwbernhardt@ios.gov <dwbernhardt@ios.gov>; Greenblatt, Mark L <mark_greenblatt@doioig.gov>

Cc: Keable, Edward T <edward_keable@nps.gov>; Burnette, Chris C <chris_burnette@nps.gov>; Rowe, Louis R
<Louis_Rowe@nps.gov>

Subject: Due Deference Notification - GRCA Opening US Mail/Federal Court Documents, Notification to US District
Court, DOJ, OSC

Mr. Secretary,
Sir, Good Morning.

On September 19, 2020 | was informed by the GRCA Deputy Superintendent, Operations that on at least
one occasion someone had deliberately opened my US Mail.

As You know, | have a federal case in US District Court, Arizona against GRCA Deputy Superintendent
Brian Drapeaux.

On at least one occasion these were Court documents clearly addressed to me, clearly sent by the
Court.

Sir, respectfully, as You know; these are several 18USC felonies---both with respect to the US Mail, and
interfering with federal court proceedings/obstruction of justice.

nttps://outlook.office365.com/mail/sentitems/id/AAQkKAGFKY)ZIY Tg4LTAyNTItNDQyYOSOSZTHILTZkZjJANZIZAMWY INWAQAMUVSzOtwaplk2BPiK%2... 1/2

9/30/2020 Case 3:19-cv-08268-DLR DocWsiestéphehshn, sled 1Ofbey20 Page 22 of 66

| have notified the Court, the Justice Department directly, and the Justice Department through the Office
of Special Counsel.

Thank You, Mr. Secretary.

Very Sincerely,
Elston

Elston L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

https:/outlook.office365.com/mail/sentitems/id/AAQKAGFKY/ZIY Tg4L TAYNTItNDQyOS05ZThjLTZkZjAOZjZAMWY 1 NWAQAMUV9zOtwgplk%2BPIK%2... 2/2

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 23 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 24 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 25 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 26 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 27 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 28 of 66
~~ Casé3:19-cv-08268-DLR Document 47-1" Filed 10/16/20 Page 29 0f66 ~~

EXHIBIT X-31

~ "Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 30 of 66

Elston L Stephenson (Plaintiff)

Case 3:19-cv-08268-DLR

P.O. Box 129

Grand Canyon, AZ 86023

June 2, 2020

U.S. District Court Clerk’s Office

Sandra Day O’Connor U.S. Courthouse, Suite 130

401 W. Washington Street, SPC 1
Phoenix, AZ 85003-2118

Dear Court,

Please receive and consider this request for STIPULATION FOR EXTENSION OF TIME TO RECEIVE
NOTICE AND COURT DOCUMENTS (Second Request) in the case of STEPHENSON V DRAPEAUX due
to COVID-19 pandemic disrupting Grand Canyon National Park mailroom delivery.

Thank You

Sincerely,

Elston L Stephenson

STIPULATION FOR EXTENSION

Your Honor, respectfully, Plaintiff seeks a 90-day Extension in this case in order to
appropriately secure Notice of the Court’s ruling in several filings before this Court and any other
Court documents in accordance with Rule 5 of the Federal Rules of Civil Procedure. And time to

answer/reply while in a continually developing COVID-19 posture.

Your Honor, the COVID-19 pandemic impacts such as ‘lock downs’, restricted hours, park closure, and

other protocols disrupted the U.S. mail service at Grand Canyon National Park. Additionally, the mail clerk

1

“Cage 3°19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 31 of 66

being ‘vulnerable’ along with COVID-19 related restrictions hampered Plaintiff's ability to collect the Court’s

documents. After the clerk retired, the new mail clerk notified Plaintiff that several Court documents mailed

to Plaintiff were ‘returned to sender’. Prior to the COVID-19 pandemic, Plaintiff filed 1 Reply and 2 Motions;
but never received the Court’s rulings/decisions, Defendant’s Reply, or other documents which may have

been sent by the Court.
Respectfully, Plaintiff asks that the Courts decisions listed below be re-sent to Plaintiff:
MOTION FOR INJUCTION OF PROTECTION AGAINST RETALIATION, dated March 8, 2020
REPLY to U.S. Attorney’s REPLY to Plaintiff's RESPONSE TO MOTION TO DISMISS, dated February 22, 2020
MOTION FOR PRESERVATION ORDER, dated January 25, 2019 [2020]. Front page to each attached.

As the Court may itself be experiencing, COVID-19 response measures are in flux and make a shorter

Extension timeline tenuous and likely subject to disruption.

Your Honor, in the interest of justice, and consistent with due process and Rule 5 of the Federal Rules
of Civil Procedure, | respectfully ask that the Court extends any deadlines 90 days so that Plaintiff may receive

the Court’s documents and reliably respond to them in this COVID-19 environment.

Thank You, Your Honor.

Respectfully Submitted,

Elston L Stephenson, OHST

Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 32 of 66

EXHIBIT X-22

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 33 of 66

Ted ELLE gg ele gdp LU yf aL UEP feng Peose te TAO Ste

«LETRA

v
2261 6cLO£2098 ZY NOANY) aNyUD

62 XO Od
NOSN3Hd31S NOLST3

da1S3n0ay S0IANaS Nanay
SHOIAWAS ONMIVN 00}2-L00S8 ZV 'XINSOHd
IWd 39v1S0d sin 00Lé XO 30IsAO LSOd
TW SSVT10-LSuId - NOISIAIG JTOIHSA YOLOW VNOZINY

| GSLyoSaud

i
Ke Ren TINS a tnt os sete
Hin.

ALT annette ur eraatittingest de

LoDattaaitat nme tec ante
. ARIZONA MORRORA/ERIOVEOROREGRLR
POST OFFICE BOX 2100

- PHOENIX, AZ 85001-2100

RETURN SERVICE REQUESTED

ELSTON STEPHENSON
PO BOX 129

GRAND CANYON AZ 860230129 1987

PTINOT EMU UA

O13819:

Arizona is required to clearly state on all non-
federal compliant credentials “Not for Federal
identification.” THESE CREDENTIALS WILL
CONTINUE TO BE ACCEPTED FOR FEDERAL USE
INCLUDING AIRPORTS UNTIL 10/1/2021.

Federal compliant credentials will have a gold
circle marker with a star outline indicator and

will continue to be accepted after 10/1/2021.

Remove card and place in your wallet,

—

‘Document 47-1 Filed 10/16/20 Page 34 of 66

Motor Vehicle Division |

40-5140 222/23 |
azdot.gov |

To protect your personal identity you must
destroy your temporary or expired permit,
driver license, or State ID Card.

Examine your card carefully to verify that all
information is correct. For any issues with
your card, please contact MVD:
Website: azdot.gov/contactmvd
Phone: 602.255.0072
Hearing/Speech Impaired TDD:

Phoenix: 602.712.3222

Elsewhere: 800.324.5425

Save time with MVD online services

Visit ServiceArizona.com for:

* Vehicle registration renewals

* Driver license motor vehicle records

* Duplicate driver licenses, IDs and more

vo ey

Gti)

Arizona Travel info

Traffic
and road
information

| ADEQ

Arend Departaicar

az511.gov myazcar.com

al Fvirenmesta Qaadas Qs

Emissions
testing
information

Dust storm
driving tips

agen Se
gays

PullAsideStayAlive.org

04.06.20

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 35 of 66

EXHIBIT J

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 36 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 37 of 66
7/28/2018 DEPARTMENT OF THE INTERIOR Mail - Follow-Up Grand Canyon Nat Park Citalion 1963108

Stephenson, Elston <elsten_stephenson@nps.gav>

Stephenson, Elston <elsion_stephenson@nps.gov> Thu, Jul 11, 2019 at 6:17 AM
To: "Barnett, Zachary - OSHA" <barmett_ zachary@dol.gov>

Zach,
Good Morming & Belated Happy 4th!
Would It be possible to forward the Employer Grand Canyan National Park ‘response’ to Citatlan 1363108.

Although | made recommendations; | was not included in ‘the GRCA/IMR/NPS huddle’ for the final 1903.19 response
(Abatement Certification, Documentation, or Plans).

As both the Complainant and the GRCA Safety Officer, wauld it be passible to forward GRCA's response to Citatlon
1363108,

Thank You.

Sincerely,

Swede

Elston . Staphanson, OHST
Safety Health & Wellness Manager
Teri Claims Officer

Grand Canyon National Park
928-255-B727

hitps//mall.google.con/mailu/07ik=b7d1a9760edview=pthsearch=allé parnmsgid=msg-a% 3Ar-4444299322809720622asimplemsg-a%JAr-4444299,,. 1/4

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 38 of 66
7/25/2019 DEPARTMENT OF THE INTERIOR Mail - [EXTERNAL] Employer response to Grand Canyon

Stephenson, Elston <elston_stephensen@nps.gov>

[EXTERNAL] Employer response to Grand Canyon

Barnett, Zachary - OSHA <Bamelt.Zachary@dol.gov> Mon, Jul 15, 2079 at 1:36 PM
Ta: "Stephenson, Elston (elston_stephenson@nps.gov)* <elston_stephenson@nps.gov>

Hi Swede,

This is the only response information | have from the Grand Canyon regarding the Notices Issued.

3) Grand Canyon employer response.pdf
7O7K

htips://malt.geogle. com/mailu/O7ik=b7d1a97 Ged view=plasaarch=allapermmsgid=msg4%3A 1639 158 147910867 S204simplamsg-MagA 16391581479... Wt

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 39 of 66

United States Department of the Interior

NATIONAL PARK SERVICE
GRAND CANYON NATIONAL PARK
P.O. BOX 129
GRAND CANYON, AZ 86023

(\ REPLY REFER TO
10.C (8211)

JUN 19 2019

T. Zachary Barnett, Area Director
U.S. Deparment of Labor

Occupational Safety and Health Administration
230 N 1" Avenue -|-
Suite 202
Phoenix AZ 83003
Q_
Re. Inspection Number 1363108 P
Dear Mr. Barnett,
o
a

During an inspection on November 28, 2018, your staft identified three corrective actions that required
Grand Catiyon National Park (GRCA) to address. This Jeuer also notifies you that the Park posted the f.
Notice in prominent places throughout our buildings, including the park niuseum collection building

This letter serves as our abatement certification that Notive | ltems 2. & 3. On Friday June 14, 2019 bg

GRCA provided training to 39 staff members who have roles associated with preservation of museum
collections and exhibits but also included park leadership, supervisors, und emergency first responders, | yh
This training included HAZCOM, HAZMAT, Safe Walking, Working Surfaces and Emergency Egress ¢ e-
and additional Supers isor's Additional Praming covered Accident Reporting. NPS Safety Management d=
Information Sy stent and the Worker's Compensation Program \p §

Grand Canyon National Park is planning to provide similar training to all park personnel within the next
year and commits to continuing training into the future. Thts will include 4 to 5 more mandatory trainings
before December 31", 2019 to reach all employecs. Auached 4 the Cenification of Corrective Action

Worksheet.

tN
If you have any questions please feel tree to contact me directly, or Brian Drapeau at 928-638-7903 ccs
Qo =
Sincerely, . 5 & §
f+
Vad yn S32
(U0 Ge
Woody Smefk —_ $
Acting Superintendent op sl
RECEIVED a a é
JUN
UN 2 1 9ntq Cay ey
OSHA-PHOENIX se
CW =.
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 40 of 66

CERTIFICATION OF CORRECTIVE ACTION WORKSHEET — FEDERAL AGENCIES

Inspection Number: 1363108

Agency Name: National Park Service, dba Grand Canyon National Park
Inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

Issuance Date: 05/22/2019

Employer Jastruction: List the specific method of correction for cach item on the enclosed notices that does not
read “Corrected During Inspection” ond return to: U.S, Department of Labor — Occupational Safety and
Health Administration, 230 N Ist Avenue, Suite 202, Phoenix, AZ 85003. Failure to submit a timely
certification of corrective action may result in a notification to your agency DASHO,

Notice Number [ and Item Number _@- was corrected on_ e/s 7 Lt 7
By (Method of Abatement): area —fu_ AZo HAZMAT. Sale eratbty  ettdtog Sm tous
ii

> 5 . = +s = a4
Ann dm, fons faresy 4rveb AS ‘ant Sepsis pVMA thigh Ae eg et NL etal if hemmed 7
} 1 LAS oe ade eid Ayer, -- -

: (2 we

Notice Number “/ and fem Number —> _ was corrected on _ Off 4/ ya

By (Method of Abatement): Tigh iy for MAL Coos HAZMAT, age tn Eg yes gp tf aeny dint
des

wae ww Reg 4 eS Any

7 S352
ree

Eryirnca gy doc ist Aah AM eet tetas Abd cal grates ei hss Aacebtak partly
Nps Vg Marna mnie Spotens And ae Ger eon ato. PF y ras. tf
Notice Nuniber and item Number was corrected on _ pe)
By (Method of Abatement): ms Ll _
o

————_ S
Notice Number == sand temNumber se wascorrecitedon C
By (Method ofAbatement); sean

sti a Figlc Soils ~

Notice Number and tem Number ___s was corrected on i
By (Method of Abatement): a Bs we §
Notice Number and Item Number was corrected on es p

By(Method ofAbatement); So cece

I certify that the information contained in this document is accurate and that the affected employces and their
representatives have been informed of the abalement

AVI (214514

Signature !) Date

Aghec, Supecuntendurr RECEIVED

NOTE: 29 USC 666(g) whoever knowingly mokes any false statements, representation or cenificatiun in any AEN a brccors, plan or
other documents Med or required 10 be maintaincd pursuant to the Act shall, upon conviction, be punished by a fine of not more than

$10,000 of by imprisonment of nat more thon 6 months ar both COSHH PHHO
POSTING: A copy of completed Corrective Action Workahect should be pusted for employee review.

var ED pre PEST

Loyny ail
wongr) 9

8 X50 3)
MSCs
, prodany

1g §

1eof

Notice of Unsafe and Unheatthful Working Conditions Page 5 of OSHA-2H
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 41 of 66

U.S. Department of Labor
Occupational Safety and Health Administration
230 N Ist Avenue

Suite 202

Phoenix, AZ 85003

‘Notice of Unsafe or Unhealthful Working Conditions

To: inspection Number: 1363108
National Park Service, dba Grand Canyon National fnspection Date(s): 11/28/2018 -
Park issuance Date: 05/23/2019

PO Box 129

Grand Canyon, AZ 86023

Puspection Site:
2C Albright Ave
Grand Canyon, AZ 86023

This Notice of Unsafe and Unhealthful Working Conditions (Notice) describes violations of the Occupational
Safety and Health Act of 1970, the Executive Order 12196, and 29 CFR 1960, Basic Program Elements for
Federal Employee Occupational Safety and Health Programs and Related Matters. You must abate the violations
referred to in this Notice by the dates listed unless, within 15 working days (excluding weekends and Federal
holidays) from your receipt of this Notice you request an Informal Conference with the US Depariment of Labor
OSHA Area Office at the address shown above. Please refer to the enclosed publication “Federal Employer
Rights and Responsibilities Following an OSHA Inspection” which outlines the appeals procedure for this
Notice and which should be read in conjunction with this form. If you have any questions please contact this
office at 602-514-7250

Posting -- The law requires that a copy of this Notice be posted immediately in 9 prominent place ot or near the
location of the violation(s) cited herein, or, if it is not practicable because the nature of the employer's operations,
where it will be readily observable by all affected employees. This Notice must remain posted until the
violation(s) cited herein has (have) been abated, or for 3 working days (excluding weekends and Federal
holidays), whichever is longer.

Notification of Corrective Action = For each violation which you do not appeal, you must provide abatement
certification io the Area Director of the OSHA office issuing the Notice and identified above. This abatement
certification is to be provided by letter within 10 calendar days after each abatement date. Abatement
certification includes the date and method of abatement. If the Notice indicates that the violation was corrected

WNoliog st Uncate ss Unncsnfod Woe - ~~ conditions acenvne ne ~ page Lora cmc sencnpuingryaneriibiyeqnna OsHa ai ones

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 42 of 66

during the inspection, no abaternent certification is required for that item. The abatement certification letter must
be posted at the location where the violation appeared and the corrective action took place or employees must
otherwise be effectively informed about abatement activities, A template abatement certification letter is
enclosed with this Notice. In addition, where the Notice indicates that abatement documentation is required,
evidence of the purchase or repair of equipment, photagraphs or video, receipts, training records, eic., verifying
that abatement has occurred is required to be provided to the Area Director.

Program Responsibilities - Section 19(a)(1) of the OSH Act requires the head of each Federal agency to
comply with applicable occupational safely and health standards. The intent of this section and Executive Order
12196 is implemented through 29 CFR. 1960.8(b). If you are cited for violations of applicable safety and health
standards, you have also violated the program element 29 CFR 1960.8(b), which stipulates:

“The head af each agency shall comply with the Occupational Safery and Health Administration standards
applicable to the agency,"

informal Confereace — An informal conference is not required, However, if you wish to have such a conference
you may request one with the Area Director within 15 working days after receipt of this Notice. As soon as the
time, date, and place of the informal conference have been determined please complete the enclosed “Notice to
Employees” and post it where the Notice is posted. During such an informal conference you may presen! any
evidence or views you believe would support an adjusiment to the Notice. In addition, bring to the conference
any and all supporting documentation of existing conditions as well as any abatement steps taken (hus far.

If you are considering a request for an informal conference to discuss any issues related to the Notice, you must
take care to schedule it carly enough to allow time to appeal after the informal conference should you decide to
do so. Please keep in mind that a written lelter of intent to appeal must be submitted by the Agency’s National
OSH Manager to the OSHA Arca Director within 15 business days of your receipt of the OSHA Notice to
request that OSHA's Regional Administrator review the case.

inspection Activity Data ~ You should be aware that OSHA publishes information on its inspection and notice
activity on the Internet under the provisions of the Electronic Freedom of Information Act. The information
related to these alleged violations will be posted when our system indicates that you have received this notice.
You are encouraged to review the information concerning your establishment at www.OSHA.gov. If you have
any dispute with the accuracy of the information displayed, please contact this office.

Notice af Unsaficand Unbealihfid Working Conditions = Page ofR OSHA-2H

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 43 of 66

Notice of Unsafe and Unhealihful Working Conditions = Page ofB ss ss—s—~—~*«S HA

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 44 of 66

U.S. Department of Labor
Occupational Safety and Health Administration

NOTICE TO EMPLOYEES

An informal conference has been scheduled with the Occupational Safety and Health
Administration (OSHA) to discuss the Notice of Unsafe or Unhealthful Working Conditions
(Notice) issued on 05/22/2019. The conference will be held by telephone or at the OSHA office

located at 230 N ist Avenue, Suite 202, Phoenix, AZ 85003 on at

. Employees and/or representatives of employees have a right to attend an

informa! conference,

Notice of Unsafe and Unhcalthfut Working Candivions = PagedofBsssti‘;*‘S A

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 45 of 66

CERTIFICATION OF CORRECTIVE ACTION WORKSHEET ~ FEDERAL AGENCIES

inspection Number: 1363108

Agency Name: National Park Service, dba Grand Canyon National Park
inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

issuance Date: 05/22/2019

Employer Instruction: List the specific method of correction for each item on the enclosed notices that does not
read “Corrected During Inspection” and return to: U.S. Department of Labor — Occupational Safety and
Health Administration, 230 N ist Avenuc, Suite 202, Phoenlz, AZ 85003. Failure to submit a timely
certification of corrective action may result in a notification to your agency DASHO,

Notice Number and Item Numbers was corrected on
By (Method of Abatement):

Notice Number and item Number ss». was corrected on
By (Method of Abatement):

Notice Number and Item Number ss was corrected on
By (Method of Abatement): _

Notice Number __ and tem Number was corrected on
By (Method of Abatement):
Notice Number and tem Number sss was corrected on
By (Method of Abatement):
Notice Number and Item Number ss was corrected on

By (Method of Abatement):

i certify that the information contained in this document is accurate and that the affected employees and their
representatives have been informed of the abatement.

Signature Date

Title

MOTE: 19 USC 666(g) whoever knowingly makes any false statements, representation or eestification in any application, record, plan or
other documents filed or required to be maintained pursuani (o the Acs shull, upon conviction, be punished by o fine af nor more than
$10,000 or by imprisonment of not mare than 6 manths or both

POSTING: A copy of completed Corrective Action Worksheet should be: posied for emplayee review.

Notice of Unsafe and Unicaltaful Working Canditions = Page Saf OSHA

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 46 of 66

U.S. Department of Laber Inspection Number: 1363108

Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 -
Issuance Dates 05/22/2019

Notice of afe aad Un thful Working Condit:

Company Name: National Park Service, dba Grand Canyon National Park
inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice | Item} — Type of Violation: Serious

29 CFR 1960.25(c): The Agency did not inspect annually, all areas in each workplace, including office
operations:

a) MUSEUM COLLECTIONS BUILDING AND Throughout the Entire Park: Annual inspections for
the identification of safety and health hazards were not conducted since 2014. Employees were
routinely exposed to the potential chemical and physical hazards associated with ingestion and
inhalation when handling uranium core samples; and biological specimens and historical artifacts
coated with preservatives to prevent deterioration.

ABATEMENT BOCUMENTATION REQUIRED FOR THIS [ITEM

Date by which Violation must be Abated: 07/10/2019

“Sex Pages | through 3 of this Notice for information on employer and employee rights snd responsibilities
Nadice of Unsafe unl Unheaithial Working Conditions Page 6 af 8 OSHA-1H

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 47 of 66

U.S. Department of Labor Inspection Number: 1363108
Occupational Safely and Health Administration‘ !mspection Date(s): 11/28/2018 -
Issuance Date: 05/22/2019
otic 1 Working Conditi

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site: 2C Albright Ave, Grand Canyon, AZ 86023

Notice 1 Item 2 ‘Type of Violation: Serious
29 CFR 1960.55(a): The Agency did not provide safety and health trainin for supervisory employees:

a) Museum Collection Building and throughout the Park: Supervisors and employces in the
Museum Collection Building and other areas throughout the park were responsible for the collection,
storage, and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including ils geology, vegetation, habitation, and cultural history. The supervisor oversaw employces
working with uranium core samples, biological specimens, and historical artifacts coated with
preservatives to prevent deterioration while performing inventory and display/presentation set up, and
when those materials were used for research purposes. Employees had potential exposure to chemical
hazards such as uranium core samples, radon, cellulose nitrate film, and biological specimens preserved
with arsenic, cyanide of mercury, naphthalene, 1,4-dichlorobenzene and other chemicals, as well as
physical hazards such as slips, trips, falls, struck by hazards, and heat exposure, Despite the numerous
potential exposures, supervisors did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/18/2019

See Pages | through 3 of this Notice for infonnation on employer and employee fights and responsibilities
Notice of Unsafe ond Unheathfu) Working Conditions Poge 7 of B OSHA-2H
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 48 of 66

U.S. Department of Labor Inspection Number: 1363108

Occupational Safety and Health Administration Inspection Date(s): 11/28/2018 -
issuance Date: 05/22/2019

Notice of : Working Conditions

Company Name: National Park Service, dba Grand Canyon National Park
Inspection Site; 2C Albright Ave, Grand Canyon, AZ 86023

Notice | Item3 Type of Violation: Serious
29 CFR 1960.59(a): The Agency did not provide appropriate safety and health training for employees:

a) MUSEUM COLLECTIONS BUILDING and throughout the Park: Employees in the Museum
Collection Building and other areas throughout the park were responsible for the collection, storage,
and preservation of physical artifacts and relevant materials associated with the Grand Canyon
including its geology, vegetation, habitation, and cultural history. Employees worked with uranium core
samples, biological specimens, and historical artifacts coated with preservatives to prevent
deterioration while performing inventory and display/presentation set up, and when those materials
were used for research purposes. Employees had potential exposure to chemical hazards such as
uranium core samples, radon, cellulose nitrate film, and biological specimens preserved with arsenic,
cyanide of mercury, naphthalene, 1,4-dichlorobenzene and other chemicals, as well as physical hazards
such as slips, trips, falls, struck by hazards, and heat exposure. Despite the numerous potential
exposures, employees did not receive safety and health training from the Agency.

Date by which Violation must be Abated: 06/18/2019

hary Barnett
Area Director

See Pages ‘ through 3 of this Notice for Information on employer and employee rights and responsibilities
Notice of Unsafe ond Unbealihful Working Conditions Page 8 of 8 OSHA-2H
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 49 of 66

Federal Employer Rights and Responsibilities
Following an OSHA Inspection-1996

After an Inspection

An Inspection of your workplace was conducted In accordance with the Occupational Safety and Health
Act of 1970, Executive Order 12196, and 29 CFR Part 1960, Basic Program Elements for Federal
Employee Occupational Safety and Health Programs and Related Matters. The compliance safety and
health officer (CSHO) who conducted the Inspection has found conditions that are In violation of the Act,
Executive Order 12196, or 29 CFR Part 1960, and you have been issued a Notice of Unsafe or Unhealthful
Warking Conditions, OSHA-2H Form (OSHA Notice) that explains In detail the exact nature of the alleged
violations).

This pamphlet contains important Information regarding your rights and responsibitities under the Act,
Executive Order 12196, and 29 CFR Part 1960. For each apparent violation found during the inspection,
the compliance officer discussed the following with you:

* The nature of the violation,
° Possible abatement measures you may take to correct the violative condition, and
* Possible abatement dates you may be required to meet.

Types of Violations

® WIELFUL: A willful violation is defined as a violation In which the employer either knowingly falled to
comply with a legal requirement (purposeful disregard) or acted with plain indifference to employee
safety. .

s SERIOUS: A serious violation exists when the workplace hazard could cause an accident or illness
that would most likely result In death or serious physical harm, unless the employer did not know or
could not have known of the violation.

® REPEATED: A Federal agency may be cited for a repeated violation if the agency has been cited
previously for the same or a substantially similar condition and, for a serious violation, OSHA's
regionwide (see last page) Inspection history for the agency lists a previous OSHA Notice issued
within the past five years; or, for an other-than-serlous violation, the establishment being Inspected
received a previous OSHA Notice issued within the past five years.

® OTHER-THAN-SERIOUS: A violation that has a direct relationship to job safety and health, but ts
not serious In nature, ts classified as “other-than-serious.”

Posting Requirements

When you receive an OSHA Notice, you must post ft (or a copy of It) at or near the place where each
violation occurred to make employees aware of the hazards to which they may be exposed. The OSHA
Notice must remain posted for 3 working days or until the hazard Is abated, whichever is fonger.
(Saturdays, Sundays and Federal holidays are not counted as working days).

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 50 of 66

Employer Options
As an employer who has been cited, you may:

« Correct the condition by the date set In the OSHA Notice and/or,
s Request an Informal Conference within 15 working days from the Ume you received the OSHA Notice
with the OSHA Area Director to discuss the violations and/or the abatement dates.

How to Comply

For violations cited In the OSHA Notice, you must promptly notify the OSHA Area Director by letter that
you have taken the appropriate corrective action within the time set forth In the OSHA Notice. The
notification you send the Area Director Is generally referred to as a LETTER OF CORRECTIVE ACTION, It
must explain the specific action taken with regard to the violation and state the date each corrective
action was taken.

If you have abatement questions after the inspection, they should be discussed with the Area Director in
the informal conference.

When the OSHA Notice permits an extended period of time for abatement, you must Insure that
employees are adequately protected during this Ume. If this is the case, you must provide OSHA with a
peradic progress report on your actiens taken in the Interim.

Informal Conference

You may request an Informal conference with the OSHA Area Director to discuss the violations. You may
use this opportunity to do any of the following:

» Qbtain a better explanation for the violations cited.

» Obtain a more complete understanding of the specific standards that apply.
# [iscuss ways to correct violations,

s [Discuss problems concerning the abatement dates.

» Discuss problems concerning employee safety practices.

» Resolve disputed violations,

« Obtain answers to any other questions you may have,

You are encouraged to take advantage of the opportunity to have an Informal conference if you foresee
any difficulties in complying with any pact of the OSHA Notice. Employee representatives have the right
to participate in any Informal conference or negotiations between the Area Director or Regional
Administratar and the emptoyer.

If you agree that the violatians do exist, but you have a valk reason for wishing to extend the abatement
date(s), you may discuss this with the Area Director during the Informal conference. The Area Director
may Issue an amended OSHA Notice that changes the abatement date prior to the expiration of the 15
working day period.

Every effort will be made to resolve the issues at an Informal conference. If, however, an issue fs not
resolved by the Area Director, a summary of the discussion together with the agency's position on the

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 51 of 66

unresolved Issues shall be forwarded to the Federal Agency Program Officer (FAPQ) within 5 working
days of the informal conference.

» ‘The FAPO/Regtonal Administrator will confer with the appropriate Regional agency official before
making a decision on the unresolved issues.

» If the FAPO/Reglonal Administrator, In consultation with the Area Director, decides that the Rem in
question should remain unchanged on the OSHA Notice, the appropriate agency officials shall be
advised.

* — If there Is still an unresolved Issue after the Regional review, the agency may send a ‘letter of appeal

to OSHA's Office of Federal Agency Programs (OFAP),

* OFAP will review the disputed Issues and discuss these with top agency officials, as appropriate, to
obtain resolution. The decision at the National Office level, in consultation with the Regional
Administrator, FAPO, and Area Director, is final.

a Under the OSHA Act, Executive Order 12196 and 29 CFR Part 1960, Federal agencies do not have the

right to contest the OSHA Notice.

Petition for Modification of Abatement (PMA)

Abatement dates are assigned on the basis of the best information available at the Ume the OSHA Notice
is issued. When you are unable to meet an abatement date because of uncontrollable events or other
circurnstances, you may file a Petition for Modification of Abatement (PMA) with the OSHA Area Director.

The petition must be in writing and must be submitted no later than one working day after the
abatement date. Ta show clearly that you have made a goad-falth effort to comply, the PMA must include

all of the following information before it can be considered:

« Steps you have taken fn an effort to achleve compliance and dates they were taken;

« Additonal Ume you need to comply;

» Why you need the additional time;

« Interim steps you are taking to safeguard your employees against the cited hazard(s) until the
abatement; and

s A certification that the petition has been posted, the date of posting and, when appropriate, a
statement that the petition has been furnished to an authorized representative of the affected
employees. The petition must remain posted for 10 working days, during which employees may file
an objection.

» A PMA may be granted or objected to by the OSHA Area Director, If a PMA is granted, a monitoring

inspection may be conducted to ensure that conditions are as they have been described and that
adequate progress toward abatement has been made.

When agreement to extend the abatement date cannot be reached at the Area Office, the agency may
bring unresolved Issues to the Regianal Administrator/FAPO for resolution with his counterpart In the

agency. Issues not resolved at the regional level shall be forwarded to the Director, OFAP, for resolution

with agency headquarters In consultation with the Regional Administrator, the FAPO, and the Area
Director.
Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 52 of 66

Further information on PMAs may be obtained from any OSHA Area/District office.
Alternate Standards

Agency heads may apply for approval of an alternate standard where deemed necessary and, after
consulting with employees or thelr representatives, including appropriate safety and health committees,
notify the Secretary of Labor and request approval of such standards. The Secretary will not approve
alternate standards unless it provides affected employees equivalent or greater protection.

The agency head must provide the Secretary with the following:

* A statement of why the agency cannot comply with the OSHA standard or wants to adopt an
alternate standard:

* A description of the alternate standard;

¢ An explanation of how the alternate standard provides equivalent or greater protection for the
affected employees;

*  Adescription of interim protective measures afforded employees until a decision is rendered by the
Secretary of Labor; and

® Asummary of written comments, if any, from interested ernployees, employee representatives, and
occupational safety and health committees.

Employees and other Interested graups are encouraged to participate in the alternate standard pracess.
Employee Courses of Action

Employees or their authorized representatives may object to any or al! of the abatement dates set for
violations if they belleve them to be unreasonable. A written notice of thelr objections must be filed with
the OSHA Area Director within 15 working days after the employer recelves the OSHA Notice,

The filing of an employee objection does not suspend the employer's obligation to abate the hazard(s).

Employees also have the right to object to a PMA. Such objections must be in writing and must be sent to
the Area Office within 10 days of service or pasting.

Follow-up Inspection and Failure to Abate

If you recelve a Notice of Unsafe or Unhealthful Working Conditions, a followup Inspection may be
conducted to verify that you have done the following:

« Posted the OSHA Notice as required,

« Corrected the violations as required in the OSHA Notice, and/or

e Adequately protected employees and made appropriate progress in correcting the hazards during
multi-step or lengthy abatement periods.

» Any new violations discovered during a followup Inspection will be cited, as well as any hazards which
have not been abated by the abatement date so specified on the OSHA Notice. The latter violations
will be cited in the form of a Fallure to Abate Notice.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 53 of 66

Enaployer Discrimination

Executive Onder 12196 and 29 CFR Part 1960.46 prohibit Federal agencies from discharging or otherwise
discriminating against an employee who has exercised any right under these laws, Inctuding the right te
make safety and health complaints or to request an OSHA inspection. In addition, Federal employees
may have protection for such activity under the Whistleblower Protection Act of 1969.

Complaints from employees who believe they have been discriminated against will be investigated by the
Office of Special Counsel except in thase agencles nat covered by the Whistleblower Act. Agencies
exempted from the Whistleblower Act are:

* Agovernment corporation, such as the Tennessee Valley Authority;

* — the Central Intelligence Agency, Defense Intelligence Agency, Natlonal Security Agency, or certain
other Intelligence agencles excluded by the President;

» the General Accounting Office;

« the U.S. Postal Service or Postal Rate Commission;

s the Federal Bureau of Investigation; and,

= Federal prisoners.

If the Federal employee's agency fs exernpted from the Whistleblower Act, the alleged reprisal Is
forwarded to the agency's Designated Agency Safety and Health Official (GASHO).

There [s no time limit for filing a complaint with the Office of Special Counsel, To obtain further
information on this matter, employees may contact OSHA and/or the Office of Special Counsel.

Providing False Information

All Information reported to OSHA by employers and employees must be accurate and truthful.
Additional Information

For further information and assistance, please contact your OSHA Area Director.

Related Publications

A single free copy of the following materials can be obtained from the OSHA Publications Office, 200
Constitution Avenue, N.W., Room N3101, Washington, D.C, 20210, (202) 219-4667

= Chemical Hazard Communication (OSHA 3084)

* How to Prepare For Workplace Emergencies (OSHA 3088)

* Job Hazard Analysis (OSHA 3071)

« 29 CFR Part 1960, Basic Program Elements for Federal Employee Occupational Safety and Health
Programs anc Related Matters

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 54 of 66

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 55 of 66

EXHIBIT X-16
co fo SN DO OO SF WS Ye

MoM NY NN NHN MY NY NY YD Re ee ee Oe elu
Oo Ss DA & @ Mw me @G.4 bo Ss & Bw Bm & = se

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 56 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page iofii

MICHAEL BAILEY

United States Attorney

District of Arizona

LAURENCE G. TINSLEY, JR.
Assistant U.S. Attorney

Arizona State Bar No. 012581
Two Renaissance Square

40 North Central Ave., Suite 1800
Phoenix, Arizona 85004-4408
Telephone: 602-514-7500
Facsimile: 602-514-7760

Email: Laurence.Tinsley@usdoj.gov

Attorneys for United States of America

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Elston Stephenson,
Plaintiff,
vs.
Brian Drapeaux,

Defendant.

CV-19-08268-PCT-DLR

INTERVENOR UNITED STATES’

MOTION TO DISMISS
PURSUANT TO RULES 12(b)(1) and
12(b)(6) |

The United States moves to dismiss Plaintiff's complaint.! Plaintiff has filed a claim

for injunction against harassment, in which he appears to allege Title VII claims of a hostile

work environment arising from “stalking” by Drapeaux, his supervisor, and/or tortious

conduct by Drapeaux under the Federal Tort Claims Act (FTCA).

pleadings admit that his work dispute allegations are related to claims he has pending

before the Equal Employment Opportunity Commission (EEOC).

' Counsel for the United States has requested authority to continue to represent Defendant
Drapeaux but has not yet received it; however, the arguments asserted in the United States’
motion apply equally to Drapeaux’s interests and positions.

Plaintiff's own

—

Oo fo 4S OH OA BP WwW LO

10

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 57 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 2 of 11

The Court should dismiss for lack of subject matter jurisdiction and failure to state
a claim because the Federal statutes prohibiting discrimination in Federal employment
provide the exclusive remedy for claims of discrimination brought by Federal employees.
Under the Title VII statutes, Federal employees are required to either exhaust their
administrative remedies or provide timely notice to the EEOC prior to filing suit. Here,
Plaintiff has not alleged either that he properly exhausted his claims or provided notice to
the EEOC of his employment discrimination claims.

Further, to the extent Plaintiffs allegations can be construed as a tort claim, the
Court should dismiss for lack of subject matter jurisdiction. The FTCA, 28 U.S.C. §
1346(b), provides a cause of action against the Federal government for persons injured by
the tortious activity of a Federal employee acting within the scope of his office or
employment. Plaintiff has not satisfied the jurisdictional prerequisite to a civil lawsuit
under the FTCA since he never submitted an administrative tort claim with the National
Park Service.

I. Introduction.

Plaintiff filed a Petition for an Injunction against Harassment in a Flagstaff Justice
Court against his supervisor, Brian Drapeaux, Deputy Superintendent, Business
Operations. See Drapeaux Declaration, attached as Exhibit C, at § 1. Plaintiff alleges that
his Supervisor “stalked him.” Plaintiff brought this action after he learned that Drapeaux
had allegedly driven onto Plaintiff's street in a neighborhood in a Grand Canyon National
Park village to check on whether or not Plaintiff was misusing a government owned vehicle
(GOV). Plaintiff alleges that he has an EEOC claim, alleging “Plaintiff has open formal
EEOC complaint against Defendant which is likely to find [sic] in Plaintiff’s favor.” Dkt.

1, at 8.?

? In connection with these claims, Plaintiff filed an internal complaint with the U.S.
Department of Interior, pursuant to Personnel Bulletin 18-01 (Exhibit A). Internal
complaints pursuant to the Bulletin in Exhibit A can be filed when an employee claims to
be subjected to harassment based on certain protected classification. These often precede
EEOC complaints. The Department found no merit to his Personnel Bulletin complaint.

-2

o Oo YN DB A FP WwW Ne

Me NM BM BM BO OND RO OR OR Om me ee eae —=
onan YW NH YF S&F O&O weAHX A AB wWH eS

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 58 of 66

Case 3:19-cv-08268-DLR Documenti3 Filed 11/14/19 Page 3of1i1

Defendant Drapeaux investigated Plaintiff because he had been directed by his own
Supervisor to confirm that Plaintiff was not using the GOV during the time Plaintiff had
been suspended and off duty. Exhibit C, at ] 2. Plaintiff had a history of often using the
GOV without checking it out under proper protocols, and taking unapproved leaves of
absences, setting his own work hours and schedule outside his mandated work hours
without pre-authorization, and often using the GOV during these time frames. /d. Plaintiff
would frequently take the GOV off Park land without permission, to run errands to cities
miles away. Id.

Drapeaux also learned that Plaintiff treated the GOV as if it were his own personal
car, in violation of NPS policy. Jd. at 93. He personally saw the GOV at a coffee shop
parking lot an hour away from the Grand Canyon and contacted Plaintiff inside the shop.
Id. Plaintiff claimed to be working, though his duties had ended that day. /d. Drapeaux
determined there was no valid business reason for the GOV to be there, /d.

The NPS determined that Plaintiff was not accountable for his time and would take
unapproved leave and drive the GOV to various destinations both inside and outside the
Park without alerting anyone of the trips he was taking or their purposes. /d. at 4. For
instance, Plaintiff often used the GOV when he had no legitimate business reasons,
including taking it home overnight and driving to destinations outside the Park when he
was not on authorized travel, Jd.

Investigation of his failure to follow NPS leave procedures and being absent without
leave (AWOL) led to the Park issuing Plaintiff discipline in the form of a three day
suspension. See Exhibit B, Approval of Proposed Suspension, dated July 10, 2019.

Drapeaux thus exercised legitimate managerial oversight over Plaintiff when

Drapeaux checked the whereabouts of the GOV, both during and after the discipline that

Plaintiff received. Plaintiff now characterizes that oversight as “stalking.”

Plaintiff also alleged in his Petition that NPS management interfered with First Aid

classes he taught, when his supervisor limited his use of equipment for the classes and

oOo ony DO Ww F&F WwW NH eS

Mm MM NM NM BH BO ND ORD ORO ee ee oe
on DB UH fF YY NY KH CO CO MOH DH nH Bw NK OC

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 59 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 4ofil

when managers attended the classes as part of routine oversight of its employees’ work
related activities, such as Plaintiff's.

II. Standard of review.

A motion to dismiss under 12(b)(1), F.R.C.P., tests the subject matter jurisdiction
of the Court. Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039-40 (9th Cir.2003).
A Rule 12(b)(1) motion can either attack the sufficiency of the pleadings to establish
federal jurisdiction, or challenge the substance of the jurisdictional allegations despite the
formal sufficiency of the complaint. Thornhill Publ’g Co., Inc. v. Gen’l Tel. & Elecs.
Corp., 594 F.2d 730, 733 (9th Cir.1979). “A court lacks subject matter jurisdiction over a
claim against the United States if it has not consented to be sued on that claim.” Consejo
de Desarrollo Economico de Mexicali, A.C. v. U.S., 482 F.3d 1157, 1173 (9th Cir.2007).
‘Federal courts are courts of limited jurisdiction...It is to be presumed that a cause lies
outside this limited jurisdiction and the burden of establishing the contrary rests upon the
party asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
377 (1994) (citations omitted).

Further, under Rule 12(b)(6), a district court must dismiss the complaint if it fails to
state a claim upon which relief can be granted. A court should grant dismissal pursuant to
Rule 12(b)(6) where there is either a “lack of cognizable legal theory” or “the absence of
sufficient facts under a cognizable legal theory.” Balistreri v. Pacifica Police Dep't, 901
F.2d 696, 699 (9th Cir.1990). That standard “requires more than labels and conclusions,
and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp.
v. Twombly, 550 U.S. 544, 555 (2007). Further, Rule 8 “requires a ‘showing,’ rather than
a blanket assertion, of entitlement to relief. Without some factual allegation in the
complaint, it is hard to see how a claimant could satisfy the requirement of providing not
only ‘fair notice’ of the nature of the claim, but also ‘grounds’ on which the claim rests.”
Id. at 556, n. 3. Further, a complaint does not suffice if it tenders “naked assertion[s]”
devoid of “further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
quoting Twombly, 550 U.S. at 557.

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 60 of 66

Case 3:19-cv-08268-DLR Documenti3 Filed 11/14/19 Page5ofii

Ii. Plaintiffs claim of work-related harassment should be dismissed.

Plaintiff appears to seek relief for a claim of hostile work environment. He alleges
that he has suffered workplace harassment by Defendant Drapeaux by alleging that
Drapeaux came into his neighborhood and was stalking him. Plaintiff alleges this
harassment is related to his pending EEOC claims. Dkt 1 at 8. However, to establish a
prima facie claim of hostile work environment, a plaintiff must show that (1) he was
subjected to verbal or physical conduct of a racial, national origin, sexual, disability, or
age-based nature; (2) the conduct was unwelcome; and (3) the conduct was sufficiently
severe or pervasive to alter the conditions of employment and create an abusive work
environment. See Vasquez v. County of Los Angeles, 349 F.3d 634, 642 (9th Cir.2004);
see also Fuller v. City of Oakland, 47 F.3d 1522, 1527 (9th Cir.1995). A hostile work
environment exists only “[w]hen the workplace is permeated with discriminatory
intimidation, ridicule and insult that is sufficiently severe or pervasive to alter the
conditions of the victim’s employment and create an abusive working environment.”
Harris v. Forklift Sys., Ine., 510 U.S. 17, 21 (1993) (quotations and citations omitted). The
courts consistently apply this demanding hostile work environment standard “to ensure that
Title VIL does not become a general civility code,” and to “filter out complaints attacking
the ordinary tribulations of the workplace.” Forager v. City of Boca Raton, 524 U.S. 775,
788 (1998). See also https://www.eeoc.gov/eeoc/index.cfm (EEOC only enforces federal
laws that make it illegal to discriminate against an employee because of the person’s race,
color, religion, sex, national origin, age, disability, genetic information, prior participation
in an employment discrimination investigation or lawsuit, or prior complaint of
discrimination).

Plaintiff's complaints about what occurred at work after he was disciplined and

suspended do not rise to the level of a hostile work environment as a matter of law.

oOo oOo 4 DBD Ww Bh WwW BO

NoN NM NY NY NY NM NY NOES
CIA ARKH KE SCEOeXARARBAHAES

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 61 of 66

Case 3:19-cv-08268-DLR Documenti3 Filed 11/14/19 Page 6 of 11

Plaintiff's claims merely involve Drapeaux’s legitimate oversight in checking on Plaintiff's
use of the GOV. Plaintiff had misused the vehicle and received discipline for the misuse,
and Drapeaux was following up to ensure that Plaintiff was not violating the terms of his
discipline.

Though he attempts to relate this to his EEOC claims, Plaintiff's harassment claims
appear to have no legitimate relationship to discrimination. His request for a restraining
order does not allege that any of defendant’s actions were based on any protected trait. His
vague allegations are thus insufficient to state an actionable hostile work environment
claim. Kortan v. California Youth Authority, 217 F.3d 1104, 1107, 1111 (9th Cir.2000);
Vasquez, 349 F.3d at 642 (finding no race-based hostile work environment where plaintiff
alleged supervisory coworker told plaintiff two racial comments, yelled at plaintiff, made
negative remarks about him to others, and made false complaints about plaintiff); Capristo
v. Brennan, No. C-15-1071 EMC, 2015 WL 4396268, at *5 (N.D. Cal. July 17, 2015)
(dismissing a hostile work environment claim in which the alleged misconduct was one
incident of yelling by a supervisor and plaintiff made no allegations that the verbal
harassment was based on plaintiff’s race or national origin).

Rather, Plaintiff improperly seeks injunctive relief for allegedly irritating or
harassing acts such as Drapeaux coming near his home while he was suspended. Even if
Plaintiff could properly allege a Title VII violation involving a hostile work environment
tantamount to discrimination, no applicable waiver of sovereign immunity permits him to
obtain a restraining order against his supervisor for alleged employment discrimination
through state court civil procedural rules as Plaintiff has attempted with his filing for
injunctive relief. See Lau v. Wong, 2013 WL 2181655 at *1, *6 (plaintiff's FTCA and
Title VII claims were barred, dismissing the plaintiff's request for a restraining order
against her supervisor based on allegations that supervisor ordered her into his office for
unclear reasons, berated her, acted in a belligerent and abusive manner, followed her

around the office, and threw a “reprimand letter” in the direction of her “vaginal area”).

Oo wo YD DA WH Bh W WH

NN N NN NN NH NN NRO ee _

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 62 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 7 of 11

Plaintiffs claims are thus precluded by Title VII, and should be dismissed for lack of
subject matter jurisdiction.

Title VII is the exclusive judicial remedy for claims of race, national origin, religion,
or sex discrimination in federal employment and expressly limits a plaintiff's remedies to
those enumerated in the statute. Brown v. Gen. Servs. Admin., 425 U.S. 820, 825 (1976);
42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k); Boyd v. USPS, 752 F.2d 410, 413-14
(9th Cir.1985); 42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k). Where a federal
employee asserts a claim under Title VII, that statute is exclusive of any other remedy
against both the federal government and the individual Federal employee alleged to have
participated in the discrimination. White v. Gen. Servs. Admin., 652 F.2d 913, 916-17 (9th
Cir.1981). Accordingly, Plaintiff’s action should be dismissed.

A. Plaintiff's employment discrimination claim is also subject to dismissal for
failure to exhaust administrative remedies.

Even if Plaintiff's allegations were legally viable as a Title VII claim, his
harassment action must be dismissed because Title VII requires that the federal employee
either exhaust her administrative remedies, or provide notice to the EEOC, as a statutory
precondition to filing suit. Where a plaintiff has not substantially complied with
administrative exhaustion requirements, the federal district court does not have subject
matter jurisdiction to hear a Title VII claim. Leong v. Potter, 347 F.3d 1117, 1122 (9th
Cir.2003); see also Brown, supra, 425 U.S. at 832-33 (Title VID; Lyons v. England, 307
F.3d 1092, 1103 (9th Cir.2002). In this matter, Plaintiff both alleged that he has a
contemporaneous and related EEOC claim against Drapeaux, and also brought a potential
precursor action to this claim. See n.1, supra.

A federal employee seeking to pursue an individual complaint of discrimination
under Title VII must initiate contact with an EEO counselor within 45 days of the allegedly
discriminatory matter. 29 C.F.R. § 1614.105(a). If the matter is not resolved through
counseling, the EEO counselor must inform the complainant of the right to file a formal

complaint. 29 C.F.R. §§ 1614.105(b)(1), (c), (d), 1614.106(b). Once a formal EEO

-7

oO oOo NHN DO tA BW He

NoN N NY NY NY YY NY we —

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 63 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 8 ofi1

complaint has been filed, the Agency has 180 days from the filing date to investigate the
issues raised in the complaint. Only after 180 days have lapsed or the Agency has issued
a final agency decision, whichever is earlier, may the employee pursue a claim in federal
district court. 42 U.S.C. § 2000e-16(c); 29 C.F.R. §§ 1614.107(b). Given that he has failed
to follow this enumerated process, Plaintiff thus cannot obtain a restraining order against
his supervisor for alleged employment discrimination through state civil procedural rules.?

Since Plaintiff has failed to exhaust these administrative remedies, the Court has no

subject matter jurisdiction.

IV.  Plaintiff’s tort claim should be dismissed for lack of subject matter

jurisdiction.

To the extent Plaintiff's request for a restraining order arises from alleged tortious
conduct, Drapeaux enjoys absolute immunity from suit for common law torts committed
within the scope of his Federal employment and should be dismissed. “Absent a waiver,
sovereign immunity shields the Federal Government and its agencies from suit.” FDIC v.
Meyer, 510 U.S. 471, 475 (1994). A waiver of sovereign immunity must be “unequivocally
expressed in statutory text.” Lane v. Pena, 518 U.S. 187, 192 (1996). Under the FTCA,
the United States has waived its immunity from suit for certain torts and in expressly
prescribed circumstances. 28 U.S.C. §§ 1346(b), 2671-2680. The FTCA provides a cause
of action against the federal government for “persons injured by the tortious activity of an

employee of the United States where the employee was ‘acting within the scope of his

3 Finally, under Title VII, the only proper defendant to any claims brought by a Federal
employee is the head of the agency or department. 42 U.S.C. § 2000e-16(c). See e.g.
Johnston v. Home, 875 F.2d 1415, 1419-20 (9th Cir.1989); White, supra, 652 F.2d at 916,
n.4 (Title VII); The Ninth Circuit has “consistently held that Title VII does not provide a
cause of action for damages against supervisors or fellow employees.” Holly D. v.
California Institute of Technology, 339 F.3d 1158, 1179 (9th Cir.2003); Hodge v. Dalton,
107 F.3d 705, 707 (9th Cir.1997) (“The doctrine of sovereign immunity applies to federal
agencies and federal officials acting within their official capacities.”). Thus the only proper
defendant in the Title VII claim would be the Secretary of the Interior, David Bernhardt.
Defendant Drapeaux should be dismissed.

Oo oo ~1 DW A BB WH WH &

NN N N NH HY NY NY fb bet
Co AINDA BONDE SEOH TDAARBHRES

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 64 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 9 of 11

office or employment...’” Wilson v. Drake, 87 F.3d 1073, 1076 (9th Cir. 1996) (quoting
28 U.S.C.§ 1346(b)).

The FTCA provides a limited waiver of sovereign immunity. 28 U.S.C § 2675(a).
A district court has no subject matter jurisdiction over an FTCA claim unless the plaintiff
has first presented a claim to the appropriate agency, and either (1) the claim was “finally
denied” in writing, or (2) six months have passed since the claim was submitted. 28 U.S.C.
§ 2675(a). The claim requirement is jurisdictional in nature and cannot be waived. McNeil
v. U.S., 508 U.S. 106, 11-12 (1993); Burns v. U.S., 764 F.2d 722, 723 (9th Cir.1985). The
plaintiff in an action seeking relief under the FTCA has the burden of pleading and proving
that she complied with the FTCA’s administrative claim presentment requirement. See
Bruce v. U.S., 621 F.2d 914, 918 (8th Cir.1980). Because plaintiff cannot show that he
exhausted administrative remedies for his potential tort claim, the Court lacks subject
matter jurisdiction,

Further, the Federal Employees Liability Reform and Tort Compensation Act of
1988 provides that the FTCA is the exclusive remedy for tortious acts and omissions
committed by Federal employees acting within the scope of their employment, and
precludes other civil actions that arise out of such acts or omissions. See 28 U.S.C. §
2679(b)(1).

Conclusion

As discussed above, no applicable waiver of sovereign immunity permits a

restraining order against Plaintiff's supervisor. As the court stated in Andrejko. v. Sanders,

638 F.Supp. 449, 452 (M.D.1986):

Clearly there is a federal interest here. One can easily imagine the disruption that
might occur in federal work places if federal employees were allowed to lodge and
maintain state tort claims against any superior with whom they had an axe to grind.
The resultant wave of litigation might well impair the ability of the various federal
agencies to function efficiently.

See also Lau, supra, at *6 (“to allow [plaintiffs] claims to proceed now would be to allow

her to ‘circumvent the EEOC’s investigatory and conciliatory role, as well as deprive the

oo YN OA UW FR WwW Ne

Nm NM NM NY NY NY NY NY Ye
SI AAA EHH KH SCE eAAaARBHRES

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 65 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 10 of 11

charged party of notice of the charge.”) Plaintiff should not be allowed to violate this
public policy, or be allowed to avoid exhausting his claims, whether under Title VII or the
FTCA.
Accordingly, the entire action should be dismissed.
RESPECTFULLY SUBMITTED this 14th day of November 2019.
MICHAEL BAILEY

United States Attorney
District of Arizona

s/Laurence G. Tinsley, Jr.
Laurence G. Tinsley, i

Assistant U.S. Attorney

- 10

0 oOo NY NA WwW Bh we Be

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
a5
26
27
28

Case 3:19-cv-08268-DLR Document 47-1 Filed 10/16/20 Page 66 of 66

Case 3:19-cv-08268-DLR Document13 Filed 11/14/19 Page 11 of 11

ERTIFICATE OF SERVICE

[hereby certify that on November 14, 2019, I electronically transmitted the attached
document to the Clerk's Office using the CM/ECF System for filing and served a copy, via
first-class mail, postage prepaid, of the document to the following recipient who is not a

CM/ECF registrant:

Elston LeMans Stephenson
P.O. Box 129

Grand Canyon, AZ 86023
Plaintiff

s/lrene Millsaps
.». Attorney’s Office

- ll

